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                                   Exhibit F

                        PREPA 2022 CERTIFIED BUDGET
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BY ELECTRONIC MAIL

June 30, 2022

The Honorable Pedro Pierluisi Urrutia
Governor of Puerto Rico

Dear Governor Pierluisi Urrutia:

Pursuant to a Resolution, a copy of which is attached hereto as Exhibit A (the “Resolution”),
adopted by the Financial Oversight and Management Board for Puerto Rico (the “Oversight
Board”), and to Section 202(e)(4) of the Puerto Rico Oversight, Management, and Economic
Stability Act (“PROMESA”), the Oversight Board hereby issues to the Governor this
compliance certification that the fiscal year 2023 budget for the Puerto Rico Electric Power
Authority (“PREPA”), attached as Exhibit 1 to the Resolution (the “Fiscal Year 2023 Budget for
PREPA”), is a compliant budget as set forth in the Resolution.

The Oversight Board looks forward to working with you and PREPA to fully implement the Fiscal
Year 2023 Budget for PREPA for the benefit of the people of Puerto Rico.

Sincerely,


David A. Skeel, Jr.

Andrew G. Biggs
Arthur J. González
Antonio L. Medina
John E. Nixon
Justin M. Peterson
Betty A. Rosa

CC:    Mr. Jaime A. El Koury
       Hon. Omar Marrero Díaz
       PREPA Governing Board
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                                          EXHIBIT A

    FINANCIAL OVERSIGHT AND MANAGEMENT BOARD FOR PUERTO RICO

                                          June 30, 2022

    RESOLUTION CERTIFYING THE FISCAL YEAR 2023 BUDGET FOR PREPA

WHEREAS, on June 30, 2016, the federal Puerto Rico Oversight, Management, and Economic
Stability Act (“PROMESA”) was enacted; and

WHEREAS, Section 101 of PROMESA created the Financial Oversight and Management Board
for Puerto Rico (“the Oversight Board”); and

WHEREAS, Section 202(c) of PROMESA establishes a multi-step procedure for the development,
review, and approval of a budget for covered instrumentalities of the Commonwealth of Puerto
Rico, such as the Puerto Rico Electric Power Authority (“PREPA”), providing that (i) the
Governor must submit a proposed budget to the Oversight Board; (ii) the Oversight Board must
review the proposed budget and determine, in the Oversight Board’s sole discretion, either that the
proposed budget complies with the applicable fiscal plan or that it does not, in which case the
Oversight Board must issue a notice of violation and recommended revisions, giving the Governor
an opportunity to correct the violations; (iii) the Governor may then submit a revised proposed
budget; and (iv) if the Governor fails timely to submit a proposed budget that the Oversight Board
determines in its sole discretion is a compliant budget, the Oversight Board shall develop and
submit to the Governor its own compliant budget; and

WHEREAS, by letter dated February 22, 2022, the Oversight Board, pursuant to Section 202(a)
of PROMESA, submitted to the Governor a schedule for developing, submitting, approving, and
certifying the Fiscal Year 2023 Budget for PREPA; and

WHEREAS, from June 15, 2022 through June 17, 2022, PREPA’s representatives, the Oversight
Board’s staff and consultants, the Puerto Rico Public-Private Partnerships Authority’s (P3A) staff
and consultants, and attorneys engaged in discussions about the Fiscal Year 2023 Budget for
PREPA and the Oversight Board’s concerns regarding the budget; and

WHEREAS, on June 22, 2022, the Governor submitted the proposed Fiscal Year 2023 Budget for
PREPA; and

WHEREAS, the Oversight Board and its advisors held discussions with the Governor’s
representatives regarding the proposed Fiscal Year 2023 Budget for PREPA; and

WHEREAS, after substantial deliberations, on June 28, 2022, the Oversight Board sent to the
Governor a notice of violation pursuant to Section 202(c)(1)(B) of PROMESA regarding the
Governor’s proposed Fiscal Year 2023 Budget for PREPA; and
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WHEREAS, the Governor did not submit a revised proposed Fiscal Year 2023 Budget for PREPA
by the established deadline; and

WHEREAS, after substantial deliberations, the Oversight Board determined that the proposed
Fiscal Year 2023 Budget for PREPA does not reflect a compliant budget as required by Section
202(c)(2) of PROMESA; and

WHEREAS, the Oversight Board has developed a revised, compliant Fiscal Year 2023 Budget for
PREPA for submission to the Governor pursuant to Sections 202(c)(2) and 202(e)(4) of
PROMESA, which budget is attached hereto as Exhibit 1 (the “Compliant 2023 PREPA Budget”);

NOW, THEREFORE, IT IS HEREBY RESOLVED THAT, pursuant to Sections 202(c)(2) and
202(e)(4) of PROMESA, the Oversight Board shall submit to the Governor the Compliant 2023
PREPA Budget, and such budget shall be (i) deemed to be approved by the Governor, (ii) the
subject of a compliance certification to be issued by the Oversight Board to the Governor, and (iii)
in full force and effect beginning on July 1, 2022.
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      EXHIBIT 1:       PUERTO RICO ELECTRIC POWER AUTHORITY FISCAL
                        YEAR 2023 COMPLIANT BUDGET AND BUDGETARY
                                   RESOLUTIONS PROVISIONS




                                                                             1
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                             I. EXHIBIT 1 - BUDGET - REVENUES PUERTO
                             RICO ELECTRIC POWER AUTHORITY
             $ Thousand                                          FY23 Budget
             Basic Revenue
              Residential                                            418,469
              Commercial                                             585,076
              Industrial                                             101,425
              Public Lighting                                          60,749
              Agricultural                                              1,962
              Others                                                    2,217
               Total                                      $         1,169,899
             Fuel & Purchased Power
              Residential                                           1,458,820
              Commercial                                            1,543,555
              Industrial                                             377,871
              Public Lighting                                          48,729
              Agricultural                                              4,603
              Others                                                    7,838
               Total                                         $      3,441,415
             CILT
              Residential                                              47,879
              Commercial                                               50,660
              Industrial                                               12,402
              Public Lighting                                           1,599
              Agricultural                                               124
              Others                                                     257
               Total                                     $           112,950
             Subsidies
              Residential                                            101,790
              Commercial                                             107,702
              Industrial                                               26,366
              Public Lighting                                           3,400
              Agricultural                                               327
              Others                                                     547
               Total                                      $          240,132
             Total Gross Revenue                          $         4,964,396
               Other Income                                            37,358
             Total Unconsolidated Revenue                 $         5,001,754
               Bad Debt Expense                                      (74,466)
               CILT & Subsidies                                     (353,082)
             Total Consolidated Revenue                   $         4,574,206




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                             II.   EXHIBIT 1 BUDGET - EXPENSES (cont’d)
                                PUERTO RICO ELECTRIC POWER AUTHORITY

      $ Thousand                                                          FY23 Budget
      A. Fuel & Purchased Power
          Fuel                                                                2,889,990
          Purchased Power - Conventional                                       472,207
          Purchased Power - Renewable                                           79,217
        Total Fuel & Purchase Power Expenses                              $   3,441,415


      B. GenCo - Operations & Maintenance Expenses
        Labor
          Salaries & Wages                                                      45,511
          Pension & Benefits                                                    28,904
          Overtime Pay                                                          11,733
          Overtime Benefits                                                      1,395
        Total GenCo Labor Operating Expenses                                    87,543


        Non-Labor / Other Operating
            Materials & Supplies                                                19,795
            Transportation, Per Diem, and Mileage                                1,527
            Security                                                             9,043
            Utilities & Rents                                                    3,623
            Legal Services                                                       7,405
            Professional & Technical Outsourced Services                         2,392
            Regulation & Environmental Inspection                                7,945
            Other Miscellaneous Expenses                                         7,565
        Total GenCo Non-Labor / Other Operating Expenses                        59,294

        Shared Services Agreement Impact                                        59,748

        Total GenCo Operating Expenses                                         206,585
        Maintenance
            Generation                                                          99,039
        Total GenCo Maintenance Projects Expense                                99,039
            Federal Funding Cost Share                                                -
        Total GenCo Operating & Maintenance Expenses                      $    305,624




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                            EXHIBIT 1 BUDGET - EXPENSES (cont’d) PUERTO
                                 RICO ELECTRIC POWER AUTHORITY

      $ Thousand                                                          FY23 Budget
      C. HoldCo - Operations Expenses
        Labor
          Salaries & Wages                                                           7,513
          Pension & Benefits                                                         4,508
          Overtime Pay                                                                 439
          Overtime Benefits                                                             53
        Total HoldCo Labor Operating Expenses                                       12,513


        Non-Labor / Other Operating Expenses
             Materials & Supplies                                                      288
             Transportation, Per Diem, and Mileage                                     242
             Retiree Medical Benefits                                                9,000
             IT Service Agreements                                                     850
             Utilities & Rents                                                          36
             Communications Expenses                                                    81
             Professional & Technical Outsourced Services                            4,144
             Other Miscellaneous Expenses                                            1,825
             PREPA Restructuring & Title III                                        25,100
             FOMB Advisor Costs allocated to PREPA                                  24,400
             Total HoldCo Non-Labor / Other Operating Expenses                      65,966

        Total HoldCo Operating Expenses                                       $     78,479
      D. GridCo - Operating & Maintenance Expenses
        GridCo Labor Operating Expenses                                            246,471
        GridCo Non-Labor / Other Operating Expenses                                289,926
        Operator Service Fees                                                      121,785
        2% Reserve                                                                  10,728
        Maintenance Projects Expenses                                               79,778
        Total GridCo Operating & Maintenance Expenses                     $        748,688

      Total Operating & Maintenance Expenses                              $       4,574,206
      Surplus / (Deficit) Before Legacy Pension and Debt Obligations                     0




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                                           EXHIBIT 1 (cont’d)


                III.     ENFORCEMENT OF THE PUERTO RICO ELECTRIC
                            POWER AUTHORITY FY23 BUDGET

         Section 2.- All expenditures authorized in any prior fiscal year are terminated and no disbursement
of public funds may be covered by such expenditure authorization, except: (1) expenditures to carry out
capital improvements that have been accounted for and kept on the books; (2) capital and maintenance
expenditures with procurement cycles that extend beyond the end of the fiscal year that have been accounted
for and kept on the books; (3) the portion of any other expenditures authorized in the Puerto Rico Electric
Power Authority (“PREPA”) Certified Budget for fiscal year 2022; and (4) the portion of the appropriations
authorized for fiscal year 2022 that have been allocated, transferred or designated on or before June 30 of
such fiscal year. This restriction on expenditures authorized in any prior fiscal year shall not apply to: (i)
programs financed in whole or part with federal funds; (ii) orders by the United States district court with
jurisdiction over all matters under Title III of PROMESA; and (iii) matters pertaining to any consent decree
or injunction, or an administrative order or settlement entered into with a Federal Agency, with respect to
Federal programs. In addition, the foregoing exceptions to the restrictions on expenditures authorized in
any prior fiscal year are conditioned on the prior written approval of the Oversight Board.

         Section 3.- On or before August 31, 2022, the Executive Director of PREPA will provide to the
Oversight Board a certification indicating whether there are any unused amounts of the fiscal year 2022
certified budget for items (1), (2), (3), and (4) of Section 2 and, if so, an itemization of such unused amounts.

         Section 4.- Notwithstanding any other statement, no unused budget allotments from any previous
fiscal year shall be used by PREPA to fund current fiscal year expenditures, except as otherwise expressly
authorized by the Oversight Board in writing after June 30, 2022.

         Section 5.- The Executive Director of PREPA shall be responsible for not spending or
encumbering during fiscal year 2023 any amount that exceeds the expenditures authorized for GenCo and
HoldCo herein for fiscal year 2022, other than amounts above those budgeted for fuel and purchased power,
which may fluctuate based on market factors or increase due to unforeseen expenses necessary to maintain
the electric system’s reliability and safety.

        Section 6.- Except for additional expenditures related to fuel and purchased power, the
expenditures approved in this budget, including payroll and related expenses, may only be reprogrammed
with the prior express written approval of the Oversight Board. For the avoidance of doubt, this prohibition
includes any reprogramming of any amount, line item or expenditure provided in this budget. In the case
of reprogramming to the fuel and purchased power budget, the Executive Director of PREPA must provide
written notice to the Oversight Board of any change to such amounts within 5 days after any such change
taking place.

         Section 7.- Pursuant to Section 203 of PROMESA, PREPA must submit to the Oversight Board,
no later than 15 days after the last day of each quarter of fiscal year 2023, a budget to actual report, along
with an explanation of relevant variances as provided in the certified Fiscal Plan. The Oversight Board may
determine to provide PREPA a template to be used for such reporting, in which case any quarterly budget
to actual reports submitted by PREPA must be submitted consistent with such reporting template.




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      Section 8.- The Oversight Board reserves the right to, in its sole discretion, issue a notice to the
 Governor, pursuant to PROMESA Section 202(a), setting forth a schedule for revising PREPA’s budget.


       Section 9.- The PREPA budget for FY2023 shall take effect on July 1, 2022.




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